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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

                                                  §
DAVID SAMBRANO, individually, and                 §
on behalf of all others similarly situated,       §
                                                  §               Civil Action No.
        Plaintiffs,                               §
                                                  §               4:21-CV-01074-P
v.                                                §
                                                  §
UNITED AIRLINES, INC.,                            §
                                                  §
        Defendant.                                §

                                         JOINT REPORT

        On September 24, 2021, the Court directed Plaintiffs David Sambrano, David Castillo,

Kimberly Hamilton, Debra Jennefer Jonas, Genise Kincannon, and Seth Turnbough (collectively

the “Plaintiffs”) and Defendant United Airlines, Inc. (“United” or “Defendant”) to submit a joint

report with a proposed briefing schedule for the evidentiary hearing on Plaintiffs’ Motion for

Preliminary Injunction on October 8, 2021. ECF No. 28.

        On September 27, 2021, the parties held a conference to confer on the submission of a

Joint Briefing Schedule for the Preliminary Injunction Hearing scheduled October 8,

2021. Plaintiffs were represented by John Sullivan, Robert Wiegand and Brian Field. Defendant

was represented by Don Munro and Russell Cawyer. The parties agreed to the following

proposed briefing schedule:

                Plaintiffs will file a supplemental opening brief on October 1, 2021 limited to 25

                 pages.




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                Defendant will file its response to the supplemental opening brief on October 5,

                 2021 limited to 20 pages. This response will be limited to addressing arguments

                 Plaintiffs make in their October 1, 2021 filing.

                The parties will exchange exhibit lists and witness lists for the October 8, 2021

                 Preliminary Injunction hearing on October 6, 2021 by 5 p.m. Central.


Respectfully submitted,

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COUNSEL FOR PLAINTIFFS
AND THE PROPOSED CLASS




                                CERTIFICATE OF SERVICE

        On September 27, 2021, I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                     /s/ Russell D. Cawyer
                                              Russell D. Cawyer




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